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F"u£° BY O&,o
IN THE UNITED sTATES DIsTRIcT COURT ‘”“ 'C-
FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED sTATEs oF AMERICA ‘ ~"'"MEMH£S

Plaintiff,

l ,/
Criminal No. JU\/-lobog Ml

(30-Day Continuance)

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I'INUANCE
AND EXCLUSION OF TIME

 

As indicatad by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, Auqust 26, 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court
at report date this 22nd day of July, 2005.

Th'ls document entered on the docket sheet in compi?anc=a
with Huie 55 and/or 32{b) FFICrP on 7 ' '

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So ORDERED this 22nd day of July, 2005.

€MTQQQ

JE` PHIPPS MCCALLA
TED sTATEs DISTRICT JUDGE

 

2a M»»

Assistant United States Attorney

 

 

 

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Counsel for Defenda""m: (s\)_*_”_`

 
 

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20505 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

